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1    Robert J. Saria
     SBN: 128749
2    ROSENFELD & SARIA
     901 H Street, Suite 620
3    Sacramento, CA 95814
     (916) 441-2070
4    Attorney for Defendant
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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         No. 2:04-cr-0374-MCE
12             Plaintiff,
13        v.                           APPLICATION AND ORDER FOR WRIT OF
                                       HABEAS CORPUS AD TESTIFICANDUM
14   CLARISSA OGO,
15             Defendant.
     ___________________________/
16
17        COMES NOW the Defendant herein by her attorney ROBERT J.
18   SAIRA, and presents and shows: that there is now confined in the
19   Deul Vocational Institution, Tracy, California, one KYRON
20   FERGUSON, in the custody of the warden thereof; that said
21   prisoner is a necessary, material and competent witness in the
22   proceedings before the above-entitled Court in Sacramento,
23   California on August 9, 2006; and that in order to secure the
24   attendance of said prisoner, it is necessary that a Writ of
25   Habeas Corpus ad Testificandum be issued commanding the Federal
26   Bureau of Prison to produce said prisoner in said Court, at the
27   Federal Courthouse, 501 I Street, Sacramento, California on
28   August 9, 2006 at 9:00 a.m., in order that said prisoner may
     respond to and answer such questions as may be propounded to him
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1    during the course of the jury trial in said case.
2         WHEREFORE, the Defendant prays for an order directing the
3    issuance of a Writ of Habeas Corpus ad Testificandum, out of and
4    under the seal of this Court, commanding the Warden of Deul
5    Vocational Institution, to have and produce in said United States
6    District Court on said date, then and there to respond to and
7    answer such questions as may be propounded to him during the
8    course of the jury trial of the above-entitled case; and at the
9    termination of said proceedings to return forthwith to said
10   above-mentioned institution.
11   Dated this 14th day of July, 2006.
12
13                                            Respectfully submitted,
14                                            /s/ Robert J. Saria
                                              ROBERT J. SARIA
15                                            Counsel for Clarissa Ogo
16
17                                    ORDER
18        Upon reading and filing the foregoing Application in that
19   behalf, IT IS ORDERED that a Writ of Habeas Corpus ad
20   Testificandum issue as prayed for herein.
21   DATED: July 20, 2006
22
                                      ______________________________
23                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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